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                EXHIBIT A
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                NOTE: This order is nonprecedential.


        United States Court of Appeals
            for the Federal Circuit
                       ______________________

                          In re: HP INC.,
                              Petitioner
                       ______________________

                              2020-140
                       ______________________

         On Petition for Writ of Mandamus to the United States
     District Court for the Eastern District of Texas in No. 4:19-
     cv-00696-ALM, Judge Amos L. Mazzant, III.
                       ______________________

                   ON PETITION AND MOTION
                      ______________________

       Before NEWMAN, LOURIE, and HUGHES, Circuit Judges.
     PER CURIAM.
                             ORDER
          HP Inc. petitions for a writ of mandamus to direct the
     United States District Court for the Eastern District of
     Texas to transfer this case to the United States District
     Court for the Northern District of California. Largan Pre-
     cision Co., Ltd. opposes. HP replies. HP also moves with-
     out opposition to submit a supplemental appendix. For the
     following reasons, we grant HP’s petition.
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                            BACKGROUND
         Largan, a Taiwanese corporation, brought this suit
     against two other Taiwanese corporations, Ability Opto-
     Electronics Technology Co., Ltd. (“AOET”) and Newmax
     Technology Co., Ltd, as well as against HP, for infringing
     four patents based on HP’s incorporation of AOET’s and
     Newmax’s optical lenses into HP’s laptops.
         HP, joined by AOET and Newmax, moved pursuant to
     28 U.S.C. § 1404(a) to transfer the case to the Northern
     District of California where HP is headquartered. At-
     tached to HP’s motion was a declaration filed by HP’s Sen-
     ior Litigation Manager, Anthony Baca. Baca identified ten
     HP employees residing in Northern California that had rel-
     evant knowledge regarding sales, marketing, revenue, and
     profits of the accused products. He added that no employee
     responsible for such activity works in the Eastern District
     of Texas. Baca additionally stated that documents relating
     to the design, development, marketing, and sales of the ac-
     cused products were also in the transferee district and else-
     where, but not in the Eastern District of Texas.
         HP further argued that the only state in the United
     States to which Largan has a connection is California, not-
     ing that Largan had previously filed two patent infringe-
     ment suits in the Northern District of California, including
     an action alleging infringement of one of the patents as-
     serted in this case as well as other related patents based
     on incorporation of Genius Electronic Optical Co., Ltd.’s
     lenses into Apple Inc.’s products. HP argued that Apple
     and Genius, which both have offices in Northern Califor-
     nia, likely had material information relevant to invalidity
     and damages that the transferee venue could compel. HP
     added that transfer would preserve judicial economy given
     the Northern District of California was already familiar
     with the technology and one of the patents.
         The district court denied the motion. In examining the
     factors related to the private interests of the litigants, the
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     court acknowledged that physical sources of proof and po-
     tential willing witnesses are in the Northern District of
     California, and not the Eastern District of Texas. However,
     the court weighed those factors as neutral largely because
     more documents and witnesses would be coming from Tai-
     wan. The court also recognized that Apple and Genius
     would likely be beyond the reach of its compulsory process
     powers, but nonetheless weighed the factor against trans-
     fer because “Largan identifie[d] specific third-party wit-
     nesses, with at least two residing in Texas.” Appx24.
         The district court also addressed several factors related
     to the public’s interest. The court recognized that the local
     interest factor weighed at least slightly in favor of transfer
     given “more of the events giving rise to this suit appear to
     have occurred in the Northern District of California than
     in the Eastern District of Texas—specifically, the develop-
     ment of the accused products.” Appx30. However, the
     court weighed against transfer that it had “already gained
     familiarity with the parties and issues in this case in de-
     ciding Defendants’ personal jurisdictional challenge” and
     because “AOET indicated its plans to relitigate its personal
     jurisdictional challenge if this case is transferred to the
     Northern District of California.” Appx28.
          Finding that one factor weighed in favor of transfer,
     two weighed against transfer, and the rest neutral, the
     court concluded that the defendants had failed to show that
     transfer is clearly more convenient and in the interest of
     justice. Accordingly, the court denied the motion. HP then
     filed this petition seeking mandamus review.
                             DISCUSSION
         A party seeking mandamus must: (1) show that it has
     a clear and indisputable legal right; (2) show it does not
     have any other method of obtaining relief; and (3) convince
     the court that the “writ is appropriate under the circum-
     stances.” Cheney v. U.S. Dist. Court for D.C., 542 U.S. 367,
     380–81 (2004) (citation omitted). In the transfer context,
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     these requirements coalesce into one, because the possibil-
     ity of an appeal after judgment is not an adequate remedy
     and mandamus is deemed an appropriate vehicle to correct
     patently erroneous transfer determinations. See In re TS
     Tech USA Corp., 551 F.3d 1315, 1322 (Fed. Cir. 2008).
         We review a decision to deny transfer pursuant to
     § 1404(a) under regional circuit law, in this case, the Fifth
     Circuit. Id. at 1319. Fifth Circuit law requires that when
     a movant “clearly demonstrate[s] that a transfer is ‘[f]or
     the convenience of parties and witnesses, [and] in the in-
     terest of justice,’” the district court “should” grant transfer.
     In re Volkswagen of Am., Inc., 545 F.3d 304, 315 (5th Cir.
     2008) (en banc) (citation omitted). That determination is
     focused on a comparison of the relative convenience of the
     two venues based on assessment of the traditional transfer
     factors. See In re Radmax, Ltd., 720 F.3d 285, 288 (5th Cir.
     2013) (noting that the critical inquiry “is relative ease of
     access, not absolute ease of access.” (emphases omitted));
     see also In re Toyota Motor Corp., 747 F.3d 1338, 1341 (Fed.
     Cir. 2014) (granting mandamus, explaining that while an
     analysis of the factors in that case “may not show that the
     transferee forum is far more convenient,” such a showing
     was not required to compel transfer, because “[w]ith noth-
     ing on the transferor-forum side of the ledger, the analysis
     shows that the transferee forum is ‘clearly more conven-
     ient’” (citation and emphases omitted)).
          In reviewing that determination on mandamus, we ask
     whether the district court clearly abused its discretion. TS
     Tech, 551 F.3d at 1319. To answer that question, we may,
     under appropriate circumstances, revisit the court’s analy-
     sis of the disputed transfer factors (here, largely the willing
     witness, source of proof, compulsory process, and practical
     problems factors 1), see Radmax, 720 F.3d at 288, and


         1  HP also argues that the district court erred in
     weighing the local interest factor only slightly in favor of
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     “review carefully the circumstances presented to and the
     decision making process of the district court,” Volkswagen,
     545 F.3d at 312 (internal quotation marks and citation
     omitted). Given this suit was brought by a foreign plaintiff,
     HP’s presence in the transferee venue, and no readily ap-
     parent connection with the Eastern District of Texas, we
     conclude that this is one of those cases. In revisiting the
     relevant factors and taking due account of the proper in-
     quiry, we hold that HP has shown entitlement to manda-
     mus because the court’s decision lies far outside the
     boundaries of a reasonable exercise of discretion.
                                  A.
         1. In its consideration of the willing witness factor, the
     district court here acknowledged that “[t]he comparison be-
     tween the transferor and transferee forums is not altered
     by the presence of other witnesses and documents in places
     outside both forums.” Appx27 n.2 (quoting Toyota, 747
     F.3d at 1340). The district court’s analysis, however, failed
     to adhere to that legal principle. Specifically, because the
     district court recognized that HP had identified several
     witnesses in the Northern District of California that could
     testify at trial without having to travel away from their res-
     idences and that “no key witnesses appear to reside in the
     Eastern District of Texas,” Appx27, the district court
     should have weighed this factor at least slightly in favor of
     transfer. Instead, the court here erred in weighing this fac-
     tor as neutral on the ground “that the most numerous and
     significant witnesses reside in Taiwan, for whom travel to
     either forum is equally inconvenient.” Id.




     transfer as opposed to strongly in favor of transfer given
     HP’s presence in the transferee venue and no party or
     event giving rise to this suit in the Eastern District of
     Texas. While there is force to this contention, we find that
     making such a change would not alter the outcome here.
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         2. The district court made a similar error in its assess-
     ment that the sources of proof factor here favored neither
     of the two venues. The district court reasoned that “HP
     will likely produce evidence from its headquarters in the
     Northern District of California, but may also [electroni-
     cally] access documents located within [other parts of]
     Texas, and the bulk of evidence in this case will likely come
     from Taiwan rather than any district in the United States.”
     Appx23. This again ignored that the critical inquiry “is rel-
     ative ease of access, not absolute ease of access.” Radmax,
     720 F.3d at 288 (emphases omitted). Since no party is in
     the Eastern District of Texas, and the existence of physical
     sources of proof in the Northern District of California
     makes that venue more convenient for trial, this factor also
     weighs at least slightly in favor of transfer.
         3. The district court likewise erred in ruling that the
     compulsory process factor weighed against transferring the
     case to Northern California. The court acknowledged the
     presence of Apple and Genius within the Northern District
     of California, which HP believes may have sold and pur-
     chased lenses covered by the patents prior to the critical
     date. As HP points out, only the transferee venue can com-
     pel those companies to provide documentary evidence and
     trial and deposition testimony without requiring any
     travel. In re Hoffmann-La Roche Inc., 587 F.3d 1333, 1337
     (Fed. Cir. 2009). By contrast, Largan only identified Texas
     residents who reside more than 100 miles outside the East-
     ern District of Texas, which means that court can only com-
     pel testimony if it would not incur a substantial expense.
     Fed. R. Civ. P. 45(c)(1)(B).
          The district court weighed this factor against transfer
     based solely on the fact that Largan had identified its third
     parties by name whereas HP identified the corporate enti-
     ties without specifying individual employees. However, we
     cannot say that should negate the potential benefits of
     transfer here with regard to Apple and Genius. To be sure,
     it is reasonable to reject vague and unsupported
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     statements regarding the location of potential witnesses or
     sources of proof. See In re Apple Inc., 743 F.3d 1377, 1379
     (Fed. Cir. 2014). But here, the court recognized that the
     pertinent Apple and Genius information would likely be in
     the transferee venue. There was thus no basis to discount
     these entities just because individual employees were not
     identified. This factor therefore should have been weighed,
     at a minimum, as neutral, if not in favor of transfer.
         4. Lastly, the district court erred when it weighed the
     practical problems factor against transfer. The Eastern
     District of Texas rejected transfer to the Northern District
     of California, a court that has familiarity with the technol-
     ogy and one of the patents, based largely on the Eastern
     District of Texas’s own familiarity gained in deciding
     AOET’s and Newmax’s personal jurisdiction challenges.
     The problem with this analysis is that “[m]otions to trans-
     fer venue are to be decided based on ‘the situation which
     existed when suit was instituted,’” In re EMC Corp., 501
     F. App’x 973, 976 (Fed. Cir. 2013) (quoting Hoffman v.
     Blaski, 363 U.S. 335, 343 (1960)). At the time this suit was
     instituted, the Northern District of California had gained
     familiarity over one of the patents in presiding over Lar-
     gan’s earlier suit against Genius, while the district court
     here had no familiarity with any of the issues. 2
         The district court also expressed some concern over the
     possibility that AOET would relitigate personal jurisdic-
     tion if the case were transferred. But this fear appears to
     be based entirely on the fact that AOET stated that it was
     joining HP’s motion “without waiving its defenses of lack of
     personal jurisdiction and improper venue.” Appx462.
     Given the court had already concluded that the suit could
     have been brought in the Northern District of California


         2   Even making this assessment at the time the
     transfer motion was filed, the transferee venue had at least
     as much, if not more, experience with relevant issues.
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     and AOET joined the motion, we cannot say that this spec-
     ulation could justify weighing this factor against transfer.
                                  B.
          In summary, the district court’s ruling was clearly
     wrong. While it correctly labeled the local interest factor
     in favor of transfer, the district court incorrectly labeled
     the willing witness and sources of proof factors as neutral
     when they clearly weigh at least slightly in favor of trans-
     fer, and incorrectly weighed the compulsory process and
     practical problems factors against transfer when, at a min-
     imum, those factors are neutral.
         While mindful that mandamus “does not reach all er-
     roneous rulings of the district court,” Volkswagen, 545 F.3d
     at 315 n.11, as in previous cases where this court and the
     Fifth Circuit have decided to issue the writ, here there is
     such “a stark contrast in relevance, convenience, and fair-
     ness between the two venues,” Hoffmann, 587 F.3d at 1336,
     that the only plausible judgment that can be reached under
     these facts is that the Northern District of California is
     clearly more convenient for trial of this case.
         Several witnesses will find the Northern District of
     California a less costly and more convenient forum to ap-
     pear at trial. Apple and Genius employees can also be com-
     pelled to produce documents and trial and deposition
     testimony without having to travel. The district court itself
     found that the Northern District of California has more of
     a local interest in this case. The transferee venue has fa-
     miliarity with the underlying technology and patents. And
     the Northern District of California is also the only venue
     where any of the physical evidence is located. Meanwhile,
     the Eastern District of Texas has no direct connection to
     any witnesses, source of proof, or interest in this case.
         Even measuring against the high standard necessary
     to grant a writ of mandamus, under these facts, HP has
     established the right to a writ to direct transfer.
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            Accordingly,
            IT IS ORDERED THAT:
          (1) The petition is granted. The district court’s June
      10, 2020 order is vacated, and it is directed to transfer this
      matter to the United States District Court for the Northern
      District of California.
         (2) The motion for leave to submit a supplemental ap-
      pendix is granted.
                                       FOR THE COURT

             September 15, 2020        /s/ Peter R. Marksteiner
                   Date                Peter R. Marksteiner
                                       Clerk of Court
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